Case 2:24-cv-09462-MWF-AJR   Document 1-1   Filed 11/01/24   Page 1 of 29 Page ID
                                    #:5




                   EXHIBIT A




                                                                       Exhibit A
                                                                        Page 5
          Case 2:24-cv-09462-MWF-AJR                        Document 1-1              Filed 11/01/24                Page 2 of 29 Page ID
                                                                   #:6
                                                                                                                                                   SUM-100
                                                   SUMMONS                                                                   FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)

NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
GARTH BROOKS


YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
JANE ROE

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                               CASE NUMBER:
The name and address of the court is:                                                          (Número del Caso):
(El nombre y dirección de la corte es): Los Angeles Superior Court
Stanley Mosk Courthouse, 111 N. Hill St. Los Angeles, CA 90012

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Omar H. Bengali, Girard Bengali, APC 355 S. Grand Ave., Suite 2450, Los Angeles, CA 90071. Tel.: (323) 302-8300
DATE:                                                               Clerk, by                                            , Deputy
(Fecha)                                                             (Secretario)                                         (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                              NOTICE TO THE PERSON SERVED: You are served
                                     1.      as an individual defendant.
                                     2.      as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                    CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                            CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                     CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date):
                                                                                                                                                       Page 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
  Judicial Council of California
                                                                      SUMMONS                                                                    www.courts.ca.gov
  SUM-100 [Rev. July 1, 2009]
                                                                                                                                    Exhibit A
                                                                                                                                     Page 6
Case 2:24-cv-09462-MWF-AJR         Document 1-1     Filed 11/01/24    Page 3 of 29 Page ID
                                          #:7



    ROBERT J. GIRARD (BAR NO. 216949)
    OMAR H. BENGALI (BAR NO. 276055)
    GIRARD BENGALI, APC
    355 S. Grand Ave., Suite 2450
    Los Angeles, CA 90071
    Tel.: (323) 302-8300
    Fax: (323) 302-8310
    rgirard@girardbengali.com
    obengali@girardbengali.com

    DOUGLAS H. WIGDOR (Pro Hac Vice Admission Pending)
    JEANNE M. CHRISTENSEN (Pro Hac Vice Admission Pending)
    WIGDOR LLP
    85 Fifth Avenue, Fifth Floor
    New York, NY 10003
    Tel.: (212) 257-6800
    Fax: (212) 257-6845
    dwigdor@wigdorlaw.com
    jchristensen@wigdorlaw.com

    HAYLEY H. BAKER (Pro Hac Vice Admission Pending)
    HB ADVOCATES PLLC
    1831 12th Avenue S.
    Nashville, TN 37203
    Tel.: (615) 505-3260
    hbaker@hb-advocates.com

    Attorneys for Plaintiff Jane Roe

                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

                 COUNTY OF LOS ANGELES – STANLEY MOSK COURTHOUSE

    JANE ROE,                                     ) Case No.
                                                  )
                  Plaintiff,                      ) UNLIMITED JURISDICTION
                                                  )
           vs.                                    ) COMPLAINT FOR DAMAGES:
                                                  )
    GARTH BROOKS,                                 )    (1) Assault
                                                  )    (2) Battery
                  Defendant.                      )    (3) Sexual Battery (Civ. Code § 1708.5)
                                                  )    (4) Bane Act (Civ. Code § 52.1)
                                                  )    (5) Ralph Act (Civ. Code § 51.7)
                                                  )    (6) Gender Violence (Civ. Code §
                                                  )        52.4(c)(2))
                                                  )
                                                  ) DEMAND FOR JURY TRIAL
                                                  )



                                                                                  Exhibit A
                                                                                   Page 7
Case 2:24-cv-09462-MWF-AJR            Document 1-1       Filed 11/01/24      Page 4 of 29 Page ID
                                             #:8




           Plaintiff Jane Roe (“Plaintiff” or “Ms. Roe”) hereby submits her Complaint against

    Defendant Garth Brooks (“Defendant” or “Brooks”), and alleges as follows:

                                      PRELIMINARY STATEMENT

           1.        In 1999, Plaintiff was hired to do the make-up and hair styling for the Grammy

    award winning artist Trisha Yearwood. Ms. Roe continued to work for Ms. Yearwood over the

    years, as well as for many other celebrities, and in 2017 she started to do make-up and hair styling

    for Garth Brooks, Ms. Yearwood’s husband.

           2.        By 2019, after Brooks learned that Ms. Roe was experiencing financial difficulties,

    he hired Ms. Roe more often. She was grateful for the additional income and thanked him

    repeatedly.

           3.        It did not take long for Brooks to take advantage of her financial hardship. Brooks

    seized what he saw as an opportunity to subject a female employee to a side of Brooks that he

    conceals from the public. This side of Brooks believes he is entitled to sexual gratification when

    he wants it, and using a female employee to get it, is fair game.

           4.        One day in 2019 when Ms. Roe was at Brooks’ house to style his hair and do his

    make-up, she looked up in horror as Brooks walked out of the shower, naked, with an erection and

    pointing his penis at Ms. Roe, came directly toward her. He grabbed her hands and forced them

    onto his erect penis. Brooks appallingly told Ms. Roe that he had fantasized about this moment

    and wanted her to perform oral sex on him so that he could “come all over her face,” specifically

    while she had her “glasses on.”

           5.        Shocked and confused, Ms. Roe pulled back and said she was not going to do what

    he wanted. Knowing that she needed the work, however, Brooks correctly predicted that Ms. Roe

    did not leave.

           6.        In May 2019, Brooks asked her to travel to Los Angeles with him for a Grammy

    tribute to Sam Moore. Usually there were others on Brooks’ private jet but this time, Ms. Roe and

    Brooks were the only two passengers. Once in Los Angeles at the hotel, Ms. Roe could not believe

    that Brooks had booked a hotel suite with one bedroom and she did not have a separate room.



                                                                                          Exhibit A
                                                                                           Page 8
Case 2:24-cv-09462-MWF-AJR          Document 1-1       Filed 11/01/24      Page 5 of 29 Page ID
                                           #:9




    After they arrived, suddenly Brooks appeared in the doorway to the bedroom, completely naked.

    He stood there and flexed his muscles. Ms. Roe immediately had a sick feeling in her stomach,

    knowing she was trapped in the room alone with Brooks, with no one to help and far away from

    Nashville.

            7.     Tragically, her worst fears came true when seconds later he was towering over her,

    his 6-foot and almost 300-pound frame ready to pounce on Ms. Roe, who is less than 5 feet and

    100 pounds. As she began to panic, he grabbed her hands and pulled her into the next room and

    onto the bed where she could not escape his physical domination.

            8.     Brooks’ rape of Ms. Roe was painful and traumatic. Having no regard for her well-

    being and intent on his own sexual gratification at the expense of Ms. Roe’s physical, mental and

    emotional trauma, at some point during the nightmare, Brooks even held her small body upside

    down by her feet and penetrated her.

            9.     She was helpless to move from his grip and terrified at what was happening to her.

    While he held her upside down, dangling by her ankles -- all the blood rushed to her head, causing

    her to be dizzy and sick. While Brooks forcefully penetrated her, he said perverted things to Ms.

    Roe about his sexual prowess.

            10.    Brooks also repeatedly slammed his penis into her vagina causing Ms. Roe’s back

    to keep hitting his body over and over with such force she felt as if he was breaking her in two.

    Disgustingly, Brooks insisted that Ms. Roe wear her eyeglasses while he carried out his sexual

    assault fantasy.

            11.    With cold disregard for Ms. Roe, when Brooks was finished, it was business as

    usual. Ms. Roe worked quickly to style his hair and do his make-up for the event so he was on

    time.

            12.    Brooks subjected Ms. Roe to other appalling sexual conduct, all of which took place

    while Ms. Roe was working for him, that includes but is not limited to the following:




                                                                                        Exhibit A
                                                                                         Page 9
Case 2:24-cv-09462-MWF-AJR      Document 1-1        Filed 11/01/24      Page 6 of 29 Page ID
                                       #:10



          •    Brooks openly talked about sexual subjects in front of Ms. Roe, including
               for example, cunnilingus;

          •    Brooks regularly changed his clothing in front of Ms. Roe, and often
               purposefully exposed his genitals and buttocks to Ms. Roe, knowing that
               she would respond with a look of horror and disgust;

          •    Brooks repeated the sexual fantasy he said when he came out of the shower
               with an erection and forced her hands on his penis to Ms. Roe, and forced
               her to listen to other sexual fantasies he had about her performing sexual
               acts on him;

          •    Brooks sent Ms. Roe sexually explicit text messages and pressured her to
               engage in sexting with him;

          •    After the sexual assault in Los Angeles, Brooks increased the frequency of
               saying his sexual fantasies about her aloud, along with his physical gropings
               of her breasts while she was doing his hair and make-up;

          •    Other sexually explicit remarks by Brooks included him telling Ms. Roe
               that he had “fucked multiple women in every corner of a hotel room,”
               “white, black, brown, or whatever,” and also said that he had done so “on
               every surface” in a hotel room;

          •    Brooks’ increased frequency of his sexually charged conversations included
               his repeated remarks about having a threesome with his wife, Ms.
               Yearwood, in which he suggested that Ms. Roe would be the third person,
               which Ms. Roe believes Brooks’ wife overheard on at least one occasion;

          •    On too many occasions to list, Brooks would lasciviously stare at Ms. Roe’s
               breasts and pressure Ms. Roe to open her shirt to allow him to physically
               touch her breasts for purposes of his arousal after which Brooks would then
               masturbate; and regarding this, Brooks, who said he would “take care of
               himself,” also told Ms. Roe he could not let her see because, “when I come,
               it’s gallons.”;

          •    In late October 2019, Brooks brought Ms. Roe to Los Angeles for five days
               during which he physically groped her body including her breasts; Ms. Roe
               was terrified to be in a hotel again worried that he would force himself on
               her. Her fears were justified as one morning when Ms. Roe went to Brooks’
               room to do his hair and make-up, he was on the bed, face down, wearing
               loose shorts and holding his crotch, and made it clear that he wanted to do
               what he had done before in Los Angeles with Ms. Roe on May 11. Ms. Roe
               managed to escape the situation because he was running late and people
               were waiting to pick him up;




                                                                                     Exhibit A
                                                                                     Page 10
Case 2:24-cv-09462-MWF-AJR         Document 1-1       Filed 11/01/24      Page 7 of 29 Page ID
                                          #:11



           •      At times, Brooks implied the groping of her breasts would continue despite
                  Ms. Roe insisting this was unwanted, for example, one time when he said
                  while groping her, “Next time we mess around,” and Ms. Roe clearly said
                  “no,” he became visibly angry at Ms. Roe and left;

           •      The frequency was such that it was inevitable that other employees of
                  Brooks’s likely saw or heard instances of the unwanted physical groping of
                  her breasts while she was styling his hair and doing his make-up;

           •      In or about May 2020, Brooks, while speaking to his manager, and with his
                  wife also present, directly in front of Ms. Roe talked about inventing a
                  shampoo bottle that would double as a dildo. When Ms. Roe became
                  uncomfortable and would not join in the conversation Brooks became upset
                  and slammed his fists down on the kitchen counter in frustration so hard
                  that items on the counter moved and he leaned in and spoke in a threatening
                  manner to Ms. Roe. Following this incident, Ms. Roe sent a text to Brooks:

                         “I have thought a lot about the conversation of last Monday.
                          I can’t work in an environment where explicit sexual
                          comments are made about shampoo bottles doubling as
                          dildos. I mean you no harm, and if you truly value my work,
                          I am happy to show up tomorrow and/or whenever you may
                          need my services.” 1
           13.    During phone conversations in 2020, after she told Brooks that she was upset he

    told his wife that Ms. Roe had seen his penis, Brooks tried to minimize what happened and said:


                  “Oh sweetheart – for one, I think I know Trisha pretty well and she wasn’t
                  uncomfortable. And I said you saw my stuff…..that was it…we were
                  talking about something and it just came up. Look, I’m worried you are over
                  thinking this.”

           14.    After the sexual assault in Los Angeles, Brooks told Ms. Roe about a mysterious

    text message he received in which a person claimed that Brooks had “ruined his life.” In a phone

    conversation about this text, Brooks said he had “no idea” who had texted him the message and

    suggested that he thought it was Ms. Roe’s husband who had sent the text and tried to get her to

    reveal her husband’s phone number.



    1
            Any email, text message or content of telephone conversations placed within quotations
    herein, are direct quotes from the documents or audio recordings.


                                                                                         Exhibit A
                                                                                         Page 11
Case 2:24-cv-09462-MWF-AJR           Document 1-1        Filed 11/01/24     Page 8 of 29 Page ID
                                            #:12




           15.      Brooks told Ms. Roe, “I never want to hurt anybody so that one [the mysterious

    text], it bothered me. It bothered me. I didn’t know the number….”

           16.      Still referring to the supposed text message, Brooks also said: “And that killed me.

    It broke my heart, like god, I never want to hurt anybody. So I was just – I was scared to death.”

    Brooks then started to talk about the fact that Ms. Roe had not worked for Brooks for several

    months, so he had one of his employees call her to see what was happening, “And then, you know,

    when they called you for work and you couldn’t do it for two months, I thought ohhhhhhhh

    craaaap!     That’s what I thought. Oh crap! So, I was trying to seek you out to come talk … or

    whatever I needed to do, but just, uh, I don’t want to hurt anybody, man. And just, … I just

    felt bad.”

           17.      Of course Brooks knew that the sexual assault and rape that he had subjected Ms.

    Roe to in Los Angeles was “bad” and further, she had told him about the severe back and neck

    pain she was experiencing.

           18.      Concerned about the repercussions if she denied him the ability to sexually force

    himself on her again, Ms. Roe said on a call to Brooks in 2020, “I want to make sure that - that

    even though I’ve told you ‘no’, that you’re cool with ‘no’. I mean ‘no’ as in ‘no fooling around

    like we had done– you are cool with that? Right?”

           19.      She was fearful that despite what he said that Brooks was angry and upset with her.

    Ms. Roe said: “when I saw you … with [another music artist], you were pretty upset with me.”

    Incredibly, Brooks replied as follows:


                    “Noooooo! I would never be upset with you….look at it this way, okay?
                    Look at it – the best way I can explain it is. Me and you broke into a
                    jewelry store and the second we broke the door we looked at each other
                    and said this isn’t right. But we already had broken the door. And so,
                    I think me and you get out and run and just hope that nobody ever finds
                    out and just love one another and be friends. … Is that fair?”

           20.      Brooks told her in 2020: “I work with the best. And I don’t want to do something

    stupid that breaks this team up. So … I will do whatever I need to do or do whatever I don’t need


                                                                                          Exhibit A
                                                                                          Page 12
Case 2:24-cv-09462-MWF-AJR           Document 1-1       Filed 11/01/24      Page 9 of 29 Page ID
                                            #:13




    to do. But I just want to keep working with you…. but if you feel weird working with me, it’s

    fine. We don’t have to work together.”

           21.     In response, Ms. Roe said, “I’ve never – found myself in a situation that is…. I just

    don’t know that I’m going to be able to look up from. And I’m frankly, I am a little frightened

    of you ... I really am.”

           22.     Brooks said, “Sweet baby! I’m so sorry. I can’t imagine! That makes me

    frightened of you!”

           23.     In this phone conversation, Ms. Roe explains that it would be “difficult” to work

    with Brooks again, to which Brooks said, “I am asking you to work together forever,” and “you

    have a place here as long as you want it. I’m lucky to have you …. I don’t want this to go

    anywhere. And I don’t want something that happened in the moment to screw the whole 20 years

    I’ve known you.”

           24.     In addition to phone calls, there were multiple text exchanges between Brooks and

    Ms. Roe but while Ms. Roe was at a studio with Brooks to style his hair in 2020, Brooks

    surreptitiously took her phone and deleted most of the text messages that he had sent to her

    containing explicit sexual content.

           25.     Eventually Ms. Roe was unable to continue working for Brooks and she sought

    legal counsel about what had happened. In addition, in or about May 2021, Ms. Roe moved to

    Mississippi.

           26.     When Ms. Roe’s counsel contacted Brooks and disclosed the fact that Ms. Roe was

    prepared to file a complaint in California to hold him accountable for his sexual assaults, and even

    shared a copy of the drafted California complaint with Brooks, he used the fact that Ms. Roe had

    dared to speak about the harm he forced on her as an opportunity to inflict even more harm and

    pain on Ms. Roe.

           27.     Specifically, while pretending to be in discussions with Ms. Roe to resolve her legal

    claims against him, on September 13, 2024, Brooks filed a preemptive abusive Complaint against

    Ms. Roe under the Declaratory Judgment Act, in the United States District Court For The Southern



                                                                                          Exhibit A
                                                                                          Page 13
Case 2:24-cv-09462-MWF-AJR           Document 1-1       Filed 11/01/24      Page 10 of 29 Page
                                          ID #:14




   District of Mississippi, Northern Division, entitled John Doe v. Jane Roe, Case No. 24 Civ. 00547

   (HTW) (LGI) (hereinafter the “Abusive Mississippi Action”).

          28.      Incredibly, in the Abusive Mississippi Action Brooks labeled himself the “victim”

   and claimed that Ms. Roe was a lying extortionist who intended on destroying his professional

   reputation. Brooks alleged that she threatened to file her complaint, in California, only because

   Brooks refused to give her a raise and pay for health insurance.

          29.     The Abusive Mississippi Action by Brooks is a blatant attempt to further control

   and bully his sexual assault victim by utilizing his multi-millionaire resources to game the legal

   system.

          30.     As part of the lawsuit he filed against Ms. Roe in desperation, Brooks

   simultaneously filed a motion to proceed under the pseudonym “John Doe.” The basis for this, as

   described by Brooks, was because he has a “well-earned reputation as a decent and caring person,”

   and therefore, if the sexual assault allegations are disclosed, he says it would create “unavoidable

   damage to his family.”

          31.     Brooks is desperate to prevent his millions of fans from learning about the horrific

   things he has said and done to a junior female employee who did nothing to deserve such treatment.

          32.      But our legal system is not in place to allow wealthy wrongdoers the ability to run

   work-arounds on sexual assault victims who attempt to hold perpetrators accountable. Yet, this is

   precisely what Brooks is trying to do in the Abusive Mississippi Action.

          33.      As set forth below, Ms. Roe commences this action pursuant to California’s

   Sexual Abuse and Cover-Up Accountability Act, AB 2777, because her claims are “based on

   conduct that occurred on or after January 1, 2009, and [are] commenced []after January 1, 2019,”

   see Cal. Code Civ. Proc. § 340.16(b)(3). Ms. Roe seeks all appropriate relief to redress Brooks’

   egregious and unlawful actions in violation of common law torts for Assault and Battery, and in

   violation of California state statutes for Sexual Battery, Ca. Civ. Code § 1708.5; the Bane Act, Ca.

   Civ. Code § 52.1; the Ralph Act, Ca. Civ. Code § 51.7; and Gender Violence, Ca. Civ. Code §

   52.4(c)(2).



                                                                                         Exhibit A
                                                                                         Page 14
Case 2:24-cv-09462-MWF-AJR             Document 1-1      Filed 11/01/24      Page 11 of 29 Page
                                            ID #:15




                                               PARTIES

          34.     Plaintiff Jane Roe is an adult citizen and resides in the State of Mississippi.

          35.     Defendant Garth Brooks is an adult citizen and resides in the State of Tennessee.

          36.     This Court has jurisdiction over this action pursuant to California Code of Civil

   Procedure § 410.10. Jane Roe seeks damages under the statutory and common law of the State of

   California.

          37.     Venue is proper is this Court pursuant to California Code of Civil Procedure § 395

   because: (a) acts and transactions described herein occurred within this county.

                        FACTS COMMON TO ALL CAUSES OF ACTION

          I.      Background: Garth Brooks

          38.     At age 62, Garth Brooks is a two-time Grammy winner and has sold more than 162

   million albums, making him the second best-selling artist of all time in the U.S. - second only to

   the Beatles in total albums sold.

          39.     His estimated net worth is about $400 million, and Forbes estimated that he made

   $45.5 million in 2018 alone.

          40.      When he is not recording music and selling it, Brooks is involved in numerous

   foundations and charities, including many dedicated to children. For example, he founded the

   Garth Brooks’ “Teammates for Kids” Foundation 2 which, in partnership with professional athletes,

   corporations and other celebrities, helps children by funding and supporting programs in hospitals,

   sports for inner city children and educational opportunities.

          41.     In addition, Brooks is involved in Habitat for Humanity, the Carter Work Project 3,

   in which he and his wife were named the inaugural Habitat Humanitarians alongside President


   2
           See https://www.teammatesforkids.com/tm4kBoard.php.
   3
           See https://www.habitat.org/carter-work-project/habitat-humanitarians-garth-brooks-and-
   trisha-yearwood.


                                                                                          Exhibit A
                                                                                          Page 15
Case 2:24-cv-09462-MWF-AJR            Document 1-1         Filed 11/01/24     Page 12 of 29 Page
                                           ID #:16



   Jimmy Carter and former First Lady Rosalynn Carter. In connection with this charitable work,

   Brooks has publicly said that “When I think of home, it is that safe place, one of those things that

   you don’t really think about every day if you have always had a place to live. The thing that I have

   learned through volunteering with Habitat is everybody doesn’t have a roof over their head. But

   what I love about Habitat is that it provides that basic first step that creates a haven and a safe

   place.”

             42.   Brooks’ wife Ms. Yearwood has publicly said about Brooks’ volunteer work with

   Habitat for Humanity, the following, “With Garth, ‘generous’ is the word that comes to mind. He

   really takes joy in helping others. I think Habitat fits him perfectly because it gives him a chance

   to do all the things that he is just so good at naturally.”

             43.   Brooks, through his foundation, built a playroom inside UCLA Mattel Children’s

   Hospital that he said the following about, “This is a Child Life Zone, and what I love about Child

   Life Zones is it’s the one place in the hospital that doctors are not allowed,….. if you’ve got a child

   that needs care, what happens to the brothers and sisters? Well, they come down here and they get

   to be brothers and sisters together here.” Brooks helped to build more than 15 children life zones

   in hospitals across the country.

             44.   Helping children and building houses are not the only charities Brooks has

   dedicated resources to, he also helps support cancer research, has held concerts to fundraise for

   public television stations, such as Austin PBS, and even made a surprise appearance at the

   Nashville Unlimited Christmas concert, held at Christ Church Cathedral to benefit a nonprofit in

   Nashville.

             45.   In 2024, Brooks performed on Mother’s Day at the Vatican as part of the World

   Meeting on Human Fraternity, organized under the theme of #BeHuman, in the atrium of St. Peter's

   Basilica.


                                                                                           Exhibit A
                                                                                           Page 16
Case 2:24-cv-09462-MWF-AJR           Document 1-1       Filed 11/01/24      Page 13 of 29 Page
                                          ID #:17



          46.     In connection with his performance at President Biden’s 2021 inauguration, Brooks

   said it was about “reaching across and loving one another.”

          47.     Brooks devotes countless hours and resources to showing the public this side of

   himself. Brooks wants his fans to believe that this charitable person is who he is on stage and off.

          48.     As these allegations demonstrate, there is nothing loving, safe or charitable about

   what Brooks subjected Ms. Roe.

          II.     Background: Ms. Roe

          49.     Ms. Roe is a professional make-up artist and hair stylist, who has worked in the

   music industry for more than thirty years. Her work garnered her a loyal list of clients, many of

   whom are household names.

          50.     Through her hard work, skill and dedication, Ms. Roe has performed the hair styling

   and make-up for celebrities appearing in countless publications such as Rolling Stone, Vanity Fair,

   In Style, Esquire and Nash Magazine. Additionally, she has received numerous credits in

   advertising campaigns involving top celebrities and brands, and for her work in television

   commercials, and films.

          51.     Throughout her career, Ms. Roe has collaborated with many of the top professional

   photographers in the world.

          52.     Unfortunately, in late 2018, the pressure on Ms. Roe to provide financial support

   for her family increased, and she needed to take on as much work as she could handle. Ms. Roe

   shared her financial challenges with Brooks and his wife.

          III.    Brooks Preys on Ms. Roe’s Hardship

          53.     As part of her work for Brooks, Ms. Roe travelled to stadiums for concerts, such as

   to Notre Dame as part of his tour in October 2018, and to studios for filming for commercials and

   interviews, such as in December 2018 to New York City for the CBS Morning Show.


                                                                                         Exhibit A
                                                                                         Page 17
Case 2:24-cv-09462-MWF-AJR              Document 1-1       Filed 11/01/24      Page 14 of 29 Page
                                             ID #:18



            54.       She often performed work for him at the home he shared with his wife.

            55.       Brooks intentionally fondled, grabbed and kissed his wife in close physical

   proximity to Ms. Roe, in a way that made Ms. Roe feel extremely uncomfortable.

            56.       In addition, Brooks would tell Ms. Roe that he thought it was “hot” to see his wife

   be with another woman sexually, and implied that she could be the other woman. Although it was

   disturbing, she did not respond to these suggestions. Ms. Roe had worked for Ms. Yearwood since

   1999, and worried that Ms. Yearwood would hear things he was saying to Ms. Roe and be upset

   with her – even though, of course, such behavior was initiated by Brooks.

            57.       For example, Brooks openly talked about sexual subjects in front of Ms. Roe,

   including cunnilingus.

            58.       Brooks regularly changed his clothing in front of Ms. Roe, and often purposefully

   exposed his genitals and buttocks to Ms. Roe, knowing that she would respond with a look of

   horror and disgust.

            59.       In 2019, when she was at Brooks’ home to do his hair and make-up, Ms. Roe set up

   her supplies in his bathroom as usual, but while she was setting up, Brooks started taking a shower

   in front of her, then came out naked with an erection pointing directly at Ms. Roe.

            60.       In shock, before she knew what to do, he grabbed her hands and forced them onto

   his erect penis.

            61.       Disgustingly, Brooks said that he wanted her to “go down on him” and he said he

   had “fantasies of her going down on [him] with her glasses [on]” and him ejaculating “all over her

   face.”

            62.       After this event, Brooks continued to repeat this particular sexual fantasy to Ms.

   Roe, as well as other fantasies he had about her.




                                                                                           Exhibit A
                                                                                           Page 18
Case 2:24-cv-09462-MWF-AJR           Document 1-1       Filed 11/01/24      Page 15 of 29 Page
                                          ID #:19



           63.     Brooks sent Ms. Roe sexually explicit text messages and pressured her to engage

   in sexting with him.

           64.     On too many occasions to list, Brooks would lasciviously stare at Ms. Roe’s breasts

   and pressure Ms. Roe to open her shirt to allow him to physically touch her breasts for purposes

   of his arousal, after which would then masturbate. Regarding this arousal conduct, Brooks said he

   would “take care of himself,” meaning masturbate until orgasm, and also told Ms. Roe he could

   not let her watch because, “when I come, it’s gallons.”

           65.     Other sexually explicit remarks by Brooks included him telling Ms. Roe that he

   had “fucked multiple women in every corner of a hotel room” “white, black, brown, or

   whatever,” and also said that he had done so “on every surface” in a hotel room.

           IV.     Sexual Assaults in California

           66.     On April 30 to May 1, 2019, Ms. Roe travelled to San Franscisco with Brooks to

   do his make-up and hair styling for an event.

           67.     On May 11, 2019, Brooks asked her to work in Los Angeles for a tribute show for

   Sam Moore. They left in the early morning hours from Nashville and arrived in Los Angeles and

   went directly to the hotel.

           68.     They were the only two passengers on his private jet, which was unusual. Once in

   Los Angeles at the hotel, Ms. Roe was shocked to learn that he had booked only one hotel room,

   and she did not have a separate room. When she dared to ask if she could have a separate room,

   Brooks said “no.”

           69.     Brooks wanted her isolated and alone, because he knew exactly what he was going

   to do to her.

           70.     No other employees were on this trip for the same reason. Brooks planned his

   attack well in advance.


                                                                                        Exhibit A
                                                                                        Page 19
Case 2:24-cv-09462-MWF-AJR             Document 1-1     Filed 11/01/24      Page 16 of 29 Page
                                            ID #:20



          71.      Suddenly to her horror, Brooks was standing in the doorway to the bedroom

   without any clothes on. Brooks’ fantasy about sexually violating Ms. Roe while she had her glasses

   on was about to happen.

          72.     Brooks grabbed her hands and pulled her into the other room and onto the bed. Ms.

   Roe, less than 5 feet and about 100 pounds, was no physical match for Brooks who is 6 feet, weighs

   almost 300 pounds and regularly lifts weights.

          73.      Brooks’ rape of Ms. Roe was painful and traumatic. Having no regard for her well-

   being and intent on his own sexual gratification at the expense of Ms. Roe’s physical, mental and

   emotional trauma, at some point during the nightmare, Brooks even held her small body upside

   down by her feet and penetrated her.

          74.     She was helpless to move from his grip and terrified at what was happening to her.

   While he held her upside down, dangling by her ankles -- all the blood rushed to her head, causing

   her to be dizzy and sick. Brooks said perverted things to Ms. Roe about his sexual prowess.

          75.     Brooks also repeatedly slammed his penis into her vagina causing Ms. Roe’s back

   to hit his body over and over with such force she felt as if he was breaking her in two.

          76.     Brooks insisted that Ms. Roe wear her eyeglasses while he carried out his sexual

   assault fantasy demonstrating that he had thought about doing this far in advance of the May 11,

   2019 trip to Los Angeles.

          77.     Knowing exactly what he was doing and the pain he was forcing her to endure

   against her will, at one-point Brooks even said to Ms. Roe that he knew he was “hurting” her.

          78.     Disgustingly, this only caused him to drop her from the upside-down position and

   forced her over to a small loveseat where, after placing her face down, Brooks engaged in other

   acts too graphic to include in this Complaint.

          79.     She was terrified.


                                                                                         Exhibit A
                                                                                         Page 20
Case 2:24-cv-09462-MWF-AJR           Document 1-1        Filed 11/01/24     Page 17 of 29 Page
                                          ID #:21



           80.     With cold disregard for Ms. Roe, when Brooks was finished, it was business as

   usual for Brooks, and Ms. Roe worked quickly to style his hair and do his make-up for the event.

           81.     Ms. Roe was physically ill and already in pain by the time they flew back to

   Nashville. In fact, a migraine had already started.

           82.     In the weeks after this horrific violence, Ms. Roe experienced debilitating pain in

   her neck and lower back, which she sought medical treatment for. In addition, she had to seek

   treatment from her ob-gyn for damage Brooks caused during the Los Angeles rape.

           83.     Sadly, during the summer of 2019, the trauma from Brooks’s rape became so

   unbearable for Ms. Roe that she planned to commit suicide. She felt hopeless and did not see how

   she would move past what had happened. Fortunately, she did not act on her thoughts and managed

   to continue to keep showing up and earning money to support her family.

           84.     She knew that she could not say anything to Brooks or anyone who worked for him

   about what he had done.

           85.     This is why, when Brooks asked her to work with him at another job in Los Angeles,

   she still agreed to go.

           86.     On October 28, 2019, Brooks had Ms. Roe travel with him back to California for

   five days of work. On this trip back to Los Angeles for five days, Ms. Roe was terrified to be in a

   hotel room with him again worried that he would force himself on her.

           87.     Fortunately, other employees were on the trip and in close proximity within the

   hotel. However, this did not stop Brooks from repeatedly squeezing, touching and groping her

   breasts any time he could. Brooks even made Ms. Roe open her shirt to expose her breasts to him

   for this purpose of his own sexual gratification.

           88.     Her fears that he would subject her to unwanted sex were justified as one morning

   when Ms. Roe went to Brooks’ room to do his hair and make-up, he was on the bed, face down,


                                                                                        Exhibit A
                                                                                        Page 21
Case 2:24-cv-09462-MWF-AJR          Document 1-1        Filed 11/01/24     Page 18 of 29 Page
                                         ID #:22



   wearing loose shorts and holding his crotch. The way he looked at her, Ms. Roe understood he

   was making it clear that he wanted to do what he had done on May 11.        She narrowly escaped

   another sexual assault because he was running late and other people were waiting to pick him up.

          89.     Brooks did not hide that he was angry and upset with Ms. Roe for not allowing him

   to sexually violate her.

          90.     After the sexual assault and rape in Los Angeles, Brooks increased the frequency

   of saying his sexual fantasies about her aloud, along with his physical gropings of her breasts

   against her will. Disgistingly, he often forced her to do this while she was styling his hair and

   doing his make-up.

          91.     At times, Brooks implied the groping would continue despite Ms. Roe insisting this

   was unwanted, for example, one time when he said while groping her, “next time we mess around,”

   and Ms. Roe clearly said “no,” he became visibly angry at Ms. Roe and left. Ms. Roe, needing the

   financial support from her work for Brooks, was petrified that her refusals would cause him to fire

   her.

          92.     Brooks increased the frequency of his sexually charged conversations with Ms.

   Roe, and this included his repeated remarks about having a threesome with his wife in which he

   implied that Ms. Roe would be the third person, which Brooks’ wife overheard on at least one

   occasion, Ms. Roe believes.

          93.      In or about May 2020, Brooks, while speaking to his manager, Randy, and Ms.

   Yearwood, directly in front of Ms. Roe talked about inventing a shampoo bottle that would double

   as a dildo. When Ms. Roe became uncomfortable and would not join in the conversation Brooks

   became upset and slammed both of his fists onto the kitchen counter-top so forcefully that items

   were tossed around and he leaned in towards Ms. Roe and spoke in a threatening manner to her.

   Following this incident, she was so upset that Ms. Roe sent a text to Brooks “I have thought a lot


                                                                                        Exhibit A
                                                                                        Page 22
Case 2:24-cv-09462-MWF-AJR          Document 1-1        Filed 11/01/24     Page 19 of 29 Page
                                         ID #:23



   about the conversation of last Monday. I can’t work in an environment where explicit sexual

   comments are made about shampoo bottles doubling as dildos. I mean you no harm, and if you

   truly value my work, I am happy to show up tomorrow and/or whenever you may need my

   services.”

            94.   After sending the text, she wrote him an email with the same content and copied

   Ms. Yearwood on that email.

            95.   Additionally, during phone conversations in 2020, Brooks said, inter alia, the

   following to Ms. Roe: After she told Brooks that she was upset he told his wife that Ms. Roe had

   seen his penis, Brooks tried to minimize what was said, and said “Oh sweetheart – for one, I think

   I know Trisha pretty well and she wasn’t uncomfortable. And I said you saw my stuff…. that was

   it…we were talking about something and it just came up. Look, I’m worried you are over thinking

   this.”

            96.   After the sexual assault in Los Angeles, Brooks told Ms. Roe about a mysterious

   text message he received in which a person claimed that Brooks had “ruined his life.” In a phone

   conversation about this text, Brooks said he had “no idea” who had texted him the message and

   suggested that he thought it was Ms. Roe’s husband who had sent the text and tried to get her to

   reveal her husband’s phone number. Brooks told Ms. Roe, “I never want to hurt anybody so that

   one [the mysterious text], it bothered me. It bothered me. I didn’t know the number….”

            97.   Brooks’ claim about the unknown text in which someone purportedly said he had

   ruined his life, led to this exchange between he and Ms. Roe: Brooks: “And that killed me. It broke

   my heart, like god, I never want to hurt anybody. So I was just – I was scared to death. And then,

   you know, when they called you for work and you couldn’t do it for two months I thought

   ohhhhhhhh craaaap. That’s what I thought. Oh crap. So, I was trying to seek you out to come talk




                                                                                        Exhibit A
                                                                                        Page 23
Case 2:24-cv-09462-MWF-AJR          Document 1-1        Filed 11/01/24       Page 20 of 29 Page
                                         ID #:24



   … or whatever I needed to do but just uh I don’t want to hurt anybody, man. And just, I just felt

   bad.”

           98.    Ms. Roe said over the phone to Brooks, “I want to make sure that that even though

   I’ve told you ‘no,’ that you’re cool with ‘no.’ I mean ‘no’ as in ‘no fooling around like we had

   done’ – you are cool with that? Right?”

           99.    Ms. Roe also said: “…when I saw you at the [redacted name of event] when you

   were doing the [redacted event], you were pretty upset with me.”

           100.   Brooks replied: “Noooooo! I would never be upset with you…. look at it this way,

   okay? Look at it – the best way I can explain it is: Me and you broke into a jewelry store and

   the second we broke the door we looked at each other and said this isn’t right. But we already

   had broken the door. And so, I think me and you get out and run and just hope that nobody

   ever finds out and just love one another and be friends. …. Is that fair?”

           101.    In his Abusive Mississippi Action, Brooks says Ms. Roe “falsely accused” him of

   sexual misconduct. He will not be able to explain why he told her in 2020: “I work with the best.

   And I don’t want to do something stupid that breaks this team up. So … I will do whatever I need

   to do or do whatever I don’t need to do. But I just want to keep working with you…. but if you

   feel weird working with me, it’s fine. We don’t have to work together.”

           102.   In response, Ms. Roe said, “I’ve never – found myself in a situation that is… I just

   don’t know that I’m going to be able to look up from … And I’m frankly, I am a little frightened

   of you ... I really am.”

           103.   Brooks said, “Sweet baby! I’m so sorry. I can’t imagine! That makes me

   frightened of you!”

           104.   In this phone conversation, Ms. Roe explains that it would be “difficult” to work

   with Brooks again, to which Brooks said, “I am asking you to work together forever,” and “you


                                                                                        Exhibit A
                                                                                        Page 24
Case 2:24-cv-09462-MWF-AJR           Document 1-1        Filed 11/01/24      Page 21 of 29 Page
                                          ID #:25



   have a place here as long as you want it. I’m lucky to have you … I don’t want this to go anywhere.

   And I don’t want something that happened in the moment to screw the whole 20 years I’ve known

   you.”

           105.   Brooks further said to Ms. Roe, “I love you to death honey, I don’t ever want to see

   you hurt, or cry or want or need for anything … if you are down physically, if you need income,

   please let me know – I want to help. … if this situation happened a year ago, before me and you

   did anything silly with each other, the answer would’ve been the same. Yes, let me help…. I’m so

   sorry that we crossed a line. I don’t want to hurt anybody. I really don’t.”

           106.   In addition to phone calls, there were multiple text exchanges between Brooks and

   Ms. Roe with sexually explicit content. Again, showing that Brooks knew exactly what he has

   done to her, one day in 2020 when she was on site at a studio to style Brooks’ hair and do his make-

   up, he took her phone and deleted most of the text messages that he had sent to her.

           107.   Brooks uses more than one cell phone, and sometimes would use different “names”

   and email addresses to communicate with Ms. Roe. He would tell Ms. Roe ahead of time that it

   would be him sending her communications, under a different name. For example, in 2019 he texted

   her to use a certain email address with a woman’s name: “It will come back to you as [woman’s

   first name] [woman’s last name] but that is me [smiley face emoji].” 4

           108.   Although Brooks thought he deleted everything on Ms. Roe’s phone, he did not,

   and some texts remain, including those in which he encouraged Ms. Roe to speak in a sexualized

   manner to him, such as this message referring to his “huge stick”:




   4
           Because the woman’s name he used is that of an employee, Ms. Roe has not included it
   here.


                                                                                          Exhibit A
                                                                                          Page 25
Case 2:24-cv-09462-MWF-AJR           Document 1-1        Filed 11/01/24      Page 22 of 29 Page
                                          ID #:26




          109.    Based on the information set forth above, which is a sampling of some, but not all

   of the acts Brooks subjected her to, it is obvious why he resorted to such a drastic measure as filing

   the Abusive Mississippi Action.

          110.    Brooks is desperate to prevent his millions of fans from learning about the horrific

    things he has said and done to a junior female employee who did nothing to deserve such

    treatment.

          111.    Fortunately, Brooks is not entitled to misuse legal statues, such as the Declaratory

   Judgment Act to further harm Ms. Roe.

          112.    Ms. Roe’s agency as a survivor and her ability to hold Brooks accountable for his

   predatory behavior should not be thwarted by the preemptive Abusive Mississippi Action.

          113.    While Ms. Roe has been victimized again by Brooks, she commenced this action

   to hold him accountable.




                                                                                          Exhibit A
                                                                                          Page 26
Case 2:24-cv-09462-MWF-AJR           Document 1-1       Filed 11/01/24       Page 23 of 29 Page
                                          ID #:27




                                    FIRST CAUSE OF ACTION
                                            (Assault)

          114.    Ms. Roe incorporates herein by reference, as though set forth in full, all preceding

   paragraphs of this Complaint.

          115.    Brooks intentionally and without consent caused harmful or offensive contact with

   Ms. Roe, including by intentionally bringing her to California for work in 2019 and purposefully

   isolating her from other employees.

          116.    Brooks ensured ahead of time that he would force Ms. Roe to share a hotel suite

   with him where, as detailed above, he subjected her to unwanted sexual intercourse, and sexually

   assaulted and raped her for his own sexual gratification.

          117.    As a result, Ms. Roe has suffered and will continue to suffer mental and physical

   pain and suffering.

                                   SECOND CAUSE OF ACTION
                                   (Battery – Civil Sexual Assault)

          118.    Ms. Roe incorporates herein by reference, as though set forth in full, all preceding

   paragraphs of this Complaint.

          119.    Brooks committed a battery against Plaintiff when he engaged in unlawful,

   intentional and offensive touching or application of force to Plaintiff’s person when he forced her

   to engage in sex against her will. Brooks ensured ahead of time that he would force Ms. Roe to

   share a hotel suite with him where she was isolated and defenseless.

          120.    Brooks held her by her ankles upside-down, restricting her ability to move or fight

   back in any manner. Brooks penetrated her vagina with his penis and subjected her to forced oral

   sex against her will. Brooks did this for his own sexual gratification.


                                                                                        Exhibit A
                                                                                        Page 27
Case 2:24-cv-09462-MWF-AJR            Document 1-1       Filed 11/01/24      Page 24 of 29 Page
                                           ID #:28



          121.    Plaintiff did not act freely and voluntarily, and the actions were against Plaintiff’s

   will, as defined in Cal. Penal Code § 243.4. Brooks knew that he was subjecting her to pain and

   trauma, as detailed above.

          122.    Additionally, Defendant Brooks committed a rape against Plaintiff, as defined in

   Cal. Penal Code § 261.

          123.    Plaintiff also was incapable of resisting because of Brooks sheer physical size and

   strength as compared to Ms. Roe.

          124.    As a result of Defendant’s alleged conduct, Plaintiff has suffered severe physical

   harm, emotional distress, humiliation, embarrassment, anxiety, economic harm and other

   consequential damages.

          125.    The conduct of Defendant Brooks described above was willful, wanton and

   malicious. At all relevant times, Defendant acted with conscious disregard of Plaintiff’s rights and

   feelings, acted with knowledge of or with reckless disregard for the fact that his conduct was

   certain to cause injury and/or humiliation to Plaintiff, and intended to and did cause fear, physical

   injury and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to

   recover punitive and exemplary damages from Defendant according to proof at trial.

          126.    This cause of action is timely under California’s Sexual Abuse and Cover-Up

   Accountability Act, AB 2777 because it is “based on conduct that occurred on or after January 1,

   2009, and is commenced []after January 1, 2019,” and is thereby revised by Cal. Code Civ. Proc.

   § 340.16(b)(3).

                                     THIRD CAUSE OF ACTION
                                (Sexual Battery - Cal. Civ. Code § 1708.5)
          127.    Ms. Roe incorporates herein by reference, as though set forth in full, all preceding

   paragraphs of this Complaint.




                                                                                         Exhibit A
                                                                                         Page 28
Case 2:24-cv-09462-MWF-AJR           Document 1-1        Filed 11/01/24      Page 25 of 29 Page
                                          ID #:29




          128.    Defendant Brooks committed a sexual battery under Cal. Civ. Code § 1708.5 when

   he intended to and did cause harmful and/or offensive contact with intimate parts of Ms. Roe, and

   his sexually offensive contact included when he forced her to engage in sex against her will.

   Brooks ensured ahead of time that he would force Ms. Roe to share a hotel suite with him where

   he kept her isolated and defenseless.

          129.    Brooks held her by her ankles upside-down, restricting her ability to move or fight

   back in any manner. Brooks penetrated her vagina with his penis and subjected her to forced oral

   sex against her will. Brooks did this for his own sexual gratification.

          130.    Plaintiff did not act freely and voluntarily, and the actions were against Plaintiff’s

   will. Brooks knew that he was subjecting her to pain and trauma, as detailed above.

          131.    Additionally, Defendant Brooks committed a rape against Plaintiff, as defined in

   Cal. Penal Code § 261.

          132.    Plaintiff also was incapable of resisting because of Brooks sheer physical size and

   strength as compared to Ms. Roe.

          133.    As a result of Defendant’s alleged conduct, Plaintiff has suffered severe physical

   harm, emotional distress, humiliation, embarrassment, anxiety, economic harm and other

   consequential damages.

          134.    The conduct of Defendant Brooks described above was willful, wanton and

   malicious. At all relevant times, Defendant acted with conscious disregard of Plaintiff’s rights and

   feelings, acted with knowledge of or with reckless disregard for the fact that his conduct was

   certain to cause injury and/or humiliation to Plaintiff, and intended to and did cause fear, physical

   injury and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to

   recover punitive and exemplary damages from Defendant according to proof at trial.

          135.    This cause of action is timely under California’s Sexual Abuse and Cover-Up

   Accountability Act, AB 2777 because it is “based on conduct that occurred on or after January 1,

   2009, and is commenced []after January 1, 2019,” and is thereby revised by Cal. Code Civ. Proc.

   § 340.16(b)(3).



                                                                                         Exhibit A
                                                                                         Page 29
Case 2:24-cv-09462-MWF-AJR           Document 1-1        Filed 11/01/24     Page 26 of 29 Page
                                          ID #:30




            136.   As a result, Ms. Roe has suffered and will continue to suffer mental and physical

   pain and suffering.
                                    FOURTH CAUSE OF ACTION
                                   (Bane Act - Cal. Civ. Code § 52.1)
            137.   Ms. Roe incorporates herein by reference, as though set forth in full, all preceding

   paragraphs of this Complaint.

            138.   At all relevant times herein, Brooks interfered or attempted to interfere by threat,

   intimidation or coercion and by physical force, with Ms. Roe’s exercise or enjoyment of her right

   to be free from sexual assault and sex discrimination as secured by the laws of California.

            139.   As a result, Ms. Roe has suffered and will continue to suffer mental and physical

   pain and suffering.
                                     FIFTH CAUSE OF ACTION
                                   (Ralph Act - Cal. Civ. Code § 51.7)
            140.   Ms. Roe incorporates herein by reference, as though set forth in full, all preceding

   paragraphs of this Complaint.

            141.   At all relevant times herein, and on May 11, 2019, Brooks committed a violent act

   against Ms. Roe, motivated by her sex, by penetrating her vagina with his penis without her

   consent, in that he would not and could not have committed the same violence against a man, and

   that violent act was a substantial factor in the resulting physical and mental harm suffered by Ms.

   Roe.

            142.   Defendant Brooks committed a rape against Plaintiff, as defined in Cal. Penal Code

   § 261.

            143.   Defendant Brooks also intentionally subjected her to unwanted oral sex against her

   will.

            144.   Brooks further subjected Ms. Roe to unwanted forced sexual groping, touching,

   squeezing of her breasts, forced exposure of her breasts to him for his sexual gratification,

   including on the five-day trip to Los Angeles beginning on October 28, 2019.




                                                                                         Exhibit A
                                                                                         Page 30
Case 2:24-cv-09462-MWF-AJR           Document 1-1       Filed 11/01/24      Page 27 of 29 Page
                                          ID #:31




          145.    As a result, Ms. Roe has suffered and will continue to suffer mental and physical

   pain and suffering.
                                  SIXTH CAUSE OF ACTION
                           (Gender Violence - Cal. Civ. Code § 52.4(c)(2))
          146.    Ms. Roe incorporates herein by reference, as though set forth in full, all preceding

   paragraphs of this Complaint.
          147. At all relevant times herein, on May 11, 2019 in Los Angeles, Defendant Brooks

   committed a rape against Plaintiff, as defined in Cal. Penal Code § 261, and he did so for the

   purpose of arousal, gratification or abuse against her will and by force and is therefore liable for

   gender violence.

          148.    As set forth above in detail, Defendant Brooks also subjected her to unwanted oral

   sex against her will.

          149.    Brooks further subjected Ms. Roe to unwanted forced sexual groping, touching,

   squeezing of her breasts, forced exposure of her breasts to him for his sexual gratification,

   including on the five-day trip to Los Angeles beginning on October 28, 2019.

          150.    As a result, Ms. Roe has suffered and will continue to suffer mental and physical

   pain and suffering.




                                                                                         Exhibit A
                                                                                         Page 31
Case 2:24-cv-09462-MWF-AJR           Document 1-1         Filed 11/01/24    Page 28 of 29 Page
                                          ID #:32




                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

   Defendant Brooks for the following relief:

          A.     For monetary and/or compensatory damages.

          B.     For punitive damages/exemplary damages according to proof and pursuant to Civil

   Code § 1708.5(3)(b);

          C.     For attorney’s fees and/or penalties pursuant to Civil Code § 1708.5(3)(b), and Civil

   Code § 51.7, 52 and 52.4;

          D.     For costs of suit herein incurred; and

          E.     For such other and further relief as the court may deem proper.

                                             JURY DEMAND

          Plaintiff hereby demands a trial by jury on all triable issues.




                                                                                       Exhibit A
                                                                                       Page 32
Case 2:24-cv-09462-MWF-AJR        Document 1-1   Filed 11/01/24     Page 29 of 29 Page
                                       ID #:33




         Dated: October 3, 2024                  Respectfully submitted,

                                                 WIGDOR LLP

                                                 By: ________________________
                                                        Douglas H. Wigdor
                                                        (Pro Hac Vice Admission
                                                        Pending)
                                                        Jeanne M. Christensen
                                                        (Pro Hac Vice Admission
                                                        Pending)

                                                 85 Fifth Avenue, Fifth Floor
                                                 New York, NY 10003
                                                 Telephone: (212) 257-6800
                                                 Facsimile: (212) 257-6845
                                                 dwigdor@wigdorlaw.com
                                                 jchristensen@wigdorlaw.com

                                                 GIRARD BENGALI, APC

                                                 By: ________________________
                                                        Omar H. Bengali

                                                 Robert J. Girard
                                                 Omar H. Bengali
                                                 355 S. Grand Ave., Suite 2450
                                                 Los Angeles, CA 90071
                                                 Telephone: (323) 302-8300
                                                 Facsimile: (323) 302-8310
                                                 rgirard@girardbengali.com
                                                 obengali@girardbengali.com

                                                 HB ADVOCATES PLLC

                                                 Hayley H. Baker
                                                 (Pro Hac Vice Admission Pending)
                                                 1831 12th Avenue S.
                                                 Nashville, TN 37203
                                                 Tel.: (615) 505-3260
                                                 hbaker@hb-advocates.com


                                                 Attorneys for Plaintiff Jane Roe




                                                                                 Exhibit A
                                                                                 Page 33
